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COHEN TAUBER SPIEVACK.& WAGNER PC,

 

Sari E. Kolatch Direct: 212-381-8729

Email: skolatch@ctswlaw.com
OctoBenftip260Aajourned
Oe 6, 2a 20
Via ECF and Facsimile Fm: _O oF ,
t:_Mou, | 2020 at 10:30am,

Honorable P. Kevin Castel SO ORDERED:

United States District Judge NZL eT
Daniel Patrick Moynihan United States Courthouse oP, JEVIN CASTEL, Te

500 Pearl Street (+ _ / > ~ >)

New York, New York 10007

Date:

  

Re: = First Data Merchant Services LLC v. MM Development Company, Inc. et al.
Case No. 19-cy-10964 (PKC)

Dear Judge Castel:

This firm represents GTR Source, LLC (“GTR”), one of the interpleader defendants in
the above referenced case. We write on behalf of all current parties to provide an update on the
status of settlement discussions and to request a short adjournment of the case management
conference currently scheduled for Friday, October 16, 2020 at 5:30 PM. !

In accordance with the Case Management Order the parties participated in a video
settlement conference yesterday. We had a meaningful discussion about the framework of a
settlement and are scheduled to meet again on Wednesday, October 21 after we have conferred
with our respective clients. Fact discovery on the case has been completed and none of the
parties intend to use an expert in this case.

Accordingly, we request an adjournment of the case management conference to provide
the parties sufficient time to complete the settlement discussions.” If we are able to reach a

resolution, we will submit a stipulation to the Court in advance of the conference.

We appreciate in advance Your Honor’s consideration of this request.

 

! On October 8, 2020, | submitted a prior request to the Court via ECF to change the time or date
of the conference due to my religious observance. A copy of that letter is attached.

2 We are mindful that the Court has a busy schedule and we want to avoid repeated requests for
adjournments. The parties respectfully request that the conference not be scheduled for October
23, 28-30 or November 5 or 6 to accommodate previously scheduled travel and family medical
matters.

420 Lexington Avenue | New York, New York 10170 ] Phone: 212.586.5800 | Fax: 212.586.5095 | www.ctswlaw.com

 
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c|T|s|w
Honorable P. Kevin Castel

October 15, 2020
Page 2 of 2

Respectfully submitted,

Sou ft tiletok

Sari E. Kolatch

ce: All counsel of record (via ECF)

 
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Case 1:19-cv-10964-PKC Document 104 Filed 10/06/20 Page 3 of 3

C|}T|S|W

COHEN TAUBER SPIEVACK & WAGNER P.C:

 

 

 

Sari E. Kolatch Direct; 212-381-8729
Email: skolatch@ctswiaw.com

October 8, 2020
Filed Via ECF

Honorable P. Kevin Castel

United States District Judge

Daniel Patrick Moynihan United States Courthouse
500 Pearl Street

New York, New York 10007

Re: First Data Merchant Services LLC v. MM Development Company, Inc. et al.
Case No. 19-cv-10964 (PEC)

Dear Judge Castel:

This firm represents GTR Source, LLC (“GTR”), one of the interpleader defendants in
the above referenced case. We write to request a change of time or date for the case
management conference currently scheduled for Friday, October 16, 2020 at 5:30 PM.

Tam a Sabbath observer and the only attorney at my firm representing GTR in this
matter. Given that the days are getting shorter, should the conference proceed as scheduled, I
would have to leave by 5:45. Given the number of parties on the case, it is unlikely that with a
5:30 start the conference will completed by then. Accordingly, we respectfuily request that the
conference either be moved to an earlier time on October 16 or to a different date. Counsel for
all parties have consented to this request.

We appreciate in advance Your Honor’s consideration of this request.

Respectfully submitted,

San Aiata.

Sari E. Kolatch

cc! All counsel of record (via ECF)

420 Lexington Avenue 1 New York, New York 10170 1 Phone: 212.596.5800 [| Fax: 212.586.5095 | www.ctswlaw.com

 
